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                     UNITED STATES DISTRICT COURT

                             DISTRICT OF MAINE



UNITED STATES OF AMERICA             )
                                     )
                                     )
v.                                   )     CRIM. NO. 2:04-CR-57-DBH-01
                                     )
LEROY MOSLEY, JR.,                   )
                                     )
                  DEFENDANT          )



     ORDER ON DEFENDANT’S MOTION FOR APPOINTMENT OF COUNSEL


       The defendant’s motion for appointment of counsel is DENIED.         I have

previously determined that the defendant is not entitled to relief under the Fair

Sentencing Act. Order on Defendant’s Mot. to Reduce Sentence (ECF No. 225).

The Court of Appeals for the First Circuit affirmed that decision. Judgment,

United States Court of Appeals for the First Circuit (ECF No. 242).

       SO ORDERED.

       DATED THIS 9TH DAY OF JULY, 2014

                                           /S/D. BROCK HORNBY
                                           D. BROCK HORNBY
                                           UNITED STATES DISTRICT JUDGE
